Case 1:18-mc-00114 Document 2 Filed 02/28/18 Page 1 of 8
Case 1:18-mc-00114 Document 2 Filed 02/28/18 Page 2 of 8
Case 1:18-mc-00114 Document 2 Filed 02/28/18 Page 3 of 8
Case 1:18-mc-00114 Document 2 Filed 02/28/18 Page 4 of 8
Case 1:18-mc-00114 Document 2 Filed 02/28/18 Page 5 of 8
Case 1:18-mc-00114 Document 2 Filed 02/28/18 Page 6 of 8
Case 1:18-mc-00114 Document 2 Filed 02/28/18 Page 7 of 8
Case 1:18-mc-00114 Document 2 Filed 02/28/18 Page 8 of 8
